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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 NATALIE TRENT, as Executrix of the                       Civil Case Number: _____________
 Estate of FRANK TRENT, on behalf of herself
 and all others similarly situated,
                                                                    CIVIL ACTION
                        Plaintiff(s),
                                                        CLASS ACTION COMPLAINT AND
                                                          DEMAND FOR JURY TRIAL
                      -against-

 WELTMAN, WEINBERG & REIS CO., LPA,

                        Defendant(s).


                          LOCAL CIVIL RULE 10.1 STATEMENT

       1.      The mailing addresses of the parties to this action are:

               NATALIE TRENT
               17 Hollywood Avenue
               Fairfield, New Jersey 07004

               WELTMAN, WEINBERG & REIS CO., LPA
               965 Keynote Circle
               Brooklyn Heights, Ohio 44131

                                    PRELIMINARY STATEMENT

       2.      Plaintiff on behalf of herself and all others similarly situated (“Plaintiff”), by and

through her attorneys, alleges that Defendants, WELTMAN, WEINBERG & REIS CO., LPA

(“WWR”) and JOHN DOES 1-25, their employees, agents and successors (collectively

“Defendants”) violated 15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act

(hereinafter “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.




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                                 JURISDICTION AND VENUE

        3.     This Court has jurisdiction over this action pursuant to 15 U.S.C. § 1692k(d). This

is an action for violations of 15 U.S.C. § 1692 et seq.

        4.     Venue is proper in this district under 28 U.S.C. §1391(b) and 15 U.S.C. § 1692k(d)

because the acts of the Defendant that give rise to this action, occurred in substantial part, in this

district.

                                          DEFINITIONS

        5.     As used in this complaint, the terms “creditor,” “consumer,” “debt” and “debt

collector” are defined at 15 U.S.C. § 1692a.

                                             PARTIES

        6.     Plaintiff is a natural person, a resident of Essex County, New Jersey and is a

“Consumer” as defined by 15 U.S.C. § 1692a(3).

        7.     WWR maintains a location at 965 Keynote Circle, Brooklyn Heights, Ohio 44131.

        8.     WWR uses the instrumentalities of interstate commerce or the mails to engage in

the principal business of collecting debt and/or to regularly engage in the collection or attempt to

collect debt asserted to be due or owed to another.

        9.     WWR is a “Debt Collector” as that term is defined by 15 U.S.C. § 1692(a)(6).

        10.    John Does 1-25, are currently unknown Defendants whose identities will be

obtained in discovery and at that time will be made parties to this action pursuant to the Federal

Rules of Civil Procedure (hereinafter “FRCP”); Rule 15, Rule 20 and Rule 21. Plaintiff’s claims

against the currently unknown Defendants arise out of the same transaction, occurrence or series

of transactions arising from known Defendant’s actions and are due to common questions of law

and fact whose joinder will promote litigation and judicial efficiency.



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                                CLASS ACTION ALLEGATIONS

       11.    Plaintiff brings this action as a state-wide class action, pursuant to Rule 23 of the

FRCP, on behalf of herself and all New Jersey consumers and their successors in interest (the

“Class”), who were harmed by the Defendant’s conduct in violation of the FDCPA, as described

in this Complaint.

       12.    This Action is properly maintained as a class action. The Classes are initially

defined as:

                     All New Jersey consumers who WWR contacted or attempted to
                     contact after receiving a communication the same or
                     substantially similar to Exhibit A.

                     The class definition may be subsequently modified or refined.

                     The Class period begins one year prior to the filing of this Action.

       13.    The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

              class action:

                     a. Numerosity: The Class is so numerous that joinder of all members is

                        impracticable because there are hundreds and/or thousands of persons who

                        were harmed by the Defendant’s conduct in violation of the FDCPA.

                        Plaintiff is complaining about a standard conduct and/or policy that

                        occurred to at least fifty (50) persons.

                     b. Commonality: There are questions of law and fact common to the class

                        members which predominate over questions affecting any individual Class

                        member.       These common questions of law and fact include, without

                        limitation:




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                       i.      Whether the Defendants violated various provisions of the FDCPA

                               as set forth herein:

                       ii.     Whether Plaintiff and the Class have been injured by the

                               Defendants' conduct;

                       iii.    Whether Plaintiff and the Class have sustained damages and are

                               entitled to restitution as a result of Defendants' wrongdoing and if

                               so, what is the proper measure and appropriate statutory formula to

                               be applied in determining such damages and restitution; and

                       iv.     Whether Plaintiff and the Class are entitled to declaratory relief.

                   c. Typicality: Plaintiff’s claims are typical of the Class, which all arise from

                       the same operative facts and are based on the same legal theories.

                   d. Adequacy of Representation: Plaintiff has no interest adverse or

                       antagonistic to the interest of the other members of the Class. Plaintiff will

                       fairly and adequately protect the interest of the Class and has retained

                       experienced and competent attorneys to represent the Class.

       14.      A Class Action is superior to other methods for the fair and efficient adjudication

of the claims herein asserted. Plaintiff anticipates no unusual difficulties in the management of this

class action.

       15.      A Class Action will permit large numbers of similarly situated persons to prosecute

their common claims in a single forum simultaneously and without the duplication of effort and

expense that numerous individual actions would engender. Class treatment will also permit the

adjudication of relatively small claims by many Class members who could not otherwise afford to




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seek legal redress for the wrongs complained of herein. Absent a Class Action, class members

will continue to suffer losses of statutory protected rights as well as damages.

       16.      Defendant(s) have acted on grounds generally applicable to the entire Class,

thereby making appropriate final relief with respect to the Class as a whole.

                                    STATEMENT OF FACTS

       17.      Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

       18.      At some time prior to October 8, 2021, FRANK TRENT allegedly incurred a

financial obligation to DISCOVER BANK (“DISCOVER”).

       19.      The DISCOVER obligation arose out of a transaction, in which money, property,

insurance or services, which are the subject of the transaction, are primarily for personal, family

or household purposes.

       20.      FRANK TRENT incurred the DISCOVER obligation by obtaining goods and

services which were primarily for personal, family and household purposes.

       21.      The DISCOVER obligation did not arise out of a transaction that was for non-

personal use.

       22.      The DISCOVER obligation did not arise out of a transaction that was for business

use.

       23.      The DISCOVER obligation is a "debt" as defined by 15 U.S.C. § 1692a(5).

       24.      DISCOVER is a "creditor" as defined by 15 U.S.C. § 1692a(4).

       25.      FRANK TRENT passed away in 2021.

       26.      The Essex Surrogates Court of the State - issued Letters of Testamentary to Plaintiff

on August 12, 2021.



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       27.     At some time prior to October 8, 2021, DISCOVER or an intermediary entity

referred the DISCOVER obligation to WWR for the purpose of collection.

       28.     At the time the DISCOVER obligation was allegedly referred to WWR, the

DISCOVER obligation was in default.

       29.     Defendants caused to be delivered to Plaintiff a letter dated October 8, 2021, which

was addressed to the Estate of FRANK TRENT. A copy of said letter is annexed hereto as Exhibit

A, which is fully incorporated herein by reference.

       30.     The October 8, 2021 letter was sent in connection with the collection of the

DISCOVER obligation.

       31.     The October 8, 2021 letter is a “communication” as defined by 15 U.S.C. §

1692a(2).

       32.     The October 8, 2021 letter was the initial written communication that was received

from Defendant.

       33.     In response to Defendant’s October 8, 2021 letter, Defendant received a letter from

Joseph K. Jones, Esq. (Jones, Esq.”) of Jones, Wolf & Kapasi, LLC (“JW&K”) dated December

9, 2021.

       34.     The December 9, 2021 letter stated in part:

               This firm has been retained to represent the interest the Estate
               of Frank Trent relative to the above-referenced matter.
               PLEASE TAKE NOTICE, that the Estate of Frank Trent hereby
               disputes the validity of the debt. Therefore, you are not to assume
               this debt to be valid.

               Pursuant to 15 U.S.C. §1692c(c), you are hereby instructed to
               immediately Cease and Desist all collection efforts and
               communications with the Estate of Frank Trent. Furthermore,
               the Estate of Frank Trent hereby revokes any and all prior
               authorization or permission, whether given in writing, orally or
               otherwise, that may have been granted to make contact via mobile

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              telephone, (whether by calling), texting, land line, emailing or to any
              facsimile device. In addition, the Estate of Frank Trent prohibits
              you from sharing his personal information and/or any
              information related to this account with any persons/entities
              without its prior written consent.

              As provided for under 15 U.S.C. §1692g(a), my client disputes the
              validity of the alleged debt and demands a verification, a full
              accounting, and the name and address of the original creditor.
              Kindly forward all such information to our New Jersey office.
              Additionally, pursuant to 15 U.S.C. §1692e(8), if the Weltman,
              Weinberg & Reis Co., LPA is reporting credit information
              concerning this alleged debt, then it is obligated to report it as
              disputed. (emphasis added)

       35.    After receiving the December 9, 2021 letter, Defendant communicated with other

persons despite knowledge that the Estate of Frank Trent was represented by Jones, Esq. and

JW&K with respect to the DISCOVER obligation.

       36.    After receiving the December 9, 2021 letter, Defendant made telephone calls to the

Maneri Law Firm, LLC in connection with the DISCOVER obligation. These calls include, but

may not be limited to:

               a.        Leaving a voicemail at approximately 10:07am on February, 3, 2022;

               b.        An answered call at approximately 3:32pm on March 16, 2022.

       37.    WWR knew or should have known that its actions violated the FDCPA.

       38.    Defendants could have taken the steps necessary to bring their actions within

compliance with the FDCPA but neglected to do so and failed to adequately review its actions to

ensure compliance with the law.

                           POLICIES AND PRACTICES COMPLAINED OF

       39.    It is Defendant’s policy and practice to violate the FDCPA, by inter alia:

              (a)        Improperly contacting third parties;

              (b)        Failing to cease communication with the consumer;

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                (c)      Using false, deceptive or misleading representations or means in connection
                         with the collection of a debt; and

                (d)      Using unfair or unconscionable means to collect or attempt to collect any
                         debt.

        40.     Defendant engaged in the practices described herein, for at least 50 natural persons

within New Jersey within one year of this Complaint.

                                                COUNT I

                      FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                  1692 et seq. VIOLATIONS

        41.     Plaintiff, on behalf of herself and others similarly situated, repeats and realleges all

prior allegations as if set forth at length herein.

        42.     As described herein, Defendant violated various provisions of the FDCPA

including but not limited to: 15 U.S.C. § 1692b; § 1692b(6) § 1692c(b); § 1692c(c); § 1692e; and

§ 1692f.

        43.     As described herein, Defendants violated 15 U.S.C. § 1692b of the FDCPA.

        44.     As described herein, Defendants violated 15 U.S.C. § 1692b(6) of the FDCPA.

        45.     As described herein, Defendants violated 15 U.S.C. § 1692c(b) of the FDCPA.

        46.     As described herein, Defendants violated 15 U.S.C. § 1692c(c) of the FDCPA.

        47.     As described herein, Defendants violated 15 U.S.C. § 1692e of the FDCPA.

        48.     Defendant’s false, misleading and deceptive statement(s) is material to the least

sophisticated consumer.

        49.     As described herein, Defendants violated 15 U.S.C. § 1692e(10).

        50.     As described herein, Defendants violated 15 U.S.C. § 1692f et seq. by using unfair

or unconscionable means to collect or attempt to collect the debt.



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       51.     Congress enacted the FDCPA in part to eliminate abusive debt collection practices

by debt collectors.

       52.     Plaintiff and others similarly situated have a right to be free from abusive debt

collection practices by debt collectors.

       53.     Plaintiff and others similarly situated have a right to receive proper notices

mandated by the FDCPA.

       54.     Plaintiff and others similarly situated were sent letters, which could have affected

their decision-making with regard to the debt.

       55.     Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.

       56.     Plaintiff has suffered damages and other harm as a direct result of Defendants

actions, conduct, omissions and violations of the FDCPA described herein.

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and her attorneys as Class Counsel;

               (b)     Awarding Plaintiff and the Class statutory damages;

               (c)     Awarding Plaintiff and the Class actual damages, including but not limited

to a disgorgement of all money collected during the relevant period;

               (d)     Awarding pre-judgment interest;

               (e)     Awarding post-judgment interest.

               (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys' fees

and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.

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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

Dated: March 23, 2022                                 Respectfully submitted,

                                              By:     s/ Joseph K. Jones
                                                      Joseph K. Jones, Esq. (JJ5509)
                                                      JONES, WOLF & KAPASI, LLC
                                                      375 Passaic Avenue
                                                      Fairfield, New Jersey 07004
                                                      Phone: (973) 227-5900
                                                      Fax: (973) 244-0019
                                                      Attorneys for Plaintiff




                        CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, hereby certify that the matter in controversy is not the subject of any other court,

arbitration or administrative proceeding.

Dated: March 23, 2022
                                                      s/ Joseph K. Jones
                                                      Joseph K. Jones, Esq. (JJ5509)
                                                      JONES, WOLF & KAPASI, LLC
                                                      375 Passaic Avenue
                                                      Fairfield, New Jersey 07004
                                                      Phone: (973) 227-5900
                                                      Fax: (973) 244-0019
                                                      Attorneys for Plaintiff




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             EXHIBIT

                                 A



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New York
                                                                                                              Joseph K. Jones, Esq.††
One Grand Central Place
                                                                                                             Benjamin J. Wolf, Esq.††
60 East 42nd St., 46th Floor
                                                                                                              Anand A. Kapasi, Esq.†
New York, NY 10165
                                                                                                            Paul Gottlieb, Of Counsel
p. (646) 459-7971
f. (646) 459-7973
                                                                                                             ††Admitted NY, NJ, CT
                                                                                                                 †Admitted NY, NJ
New Jersey
375 Passaic Ave., Ste. 100
Fairfield, NJ 07004
p. (973) 227-5900                                                                                               www.legaljones.com
f. (973) 244-0019

    Reply to: New Jersey
                                                           December 9, 2021
                                        Via Facsimile: (216) 335-5180 and First Class Mail

           Weltman, Weinberg & Reis Co., LPA
           965 Keynote Circle
           Brooklyn Heights, Ohio 44131

                                             Re:      Estate of Frank Trent
                                                      Your File No.:        801

           To Whom It May Concern:

                    This firm has been retained to represent the interest the Estate of Frank Trent relative to the
           above-referenced matter. PLEASE TAKE NOTICE, that the Estate of Frank Trent hereby disputes the
           validity of the debt. Therefore, you are not to assume this debt to be valid.

                    Pursuant to 15 U.S.C. §1692c(c), you are hereby instructed to immediately Cease and Desist all
           collection efforts and communications with the Estate of Frank Trent. Furthermore, the Estate of Frank
           Trent hereby revokes any and all prior authorization or permission, whether given in writing, orally or
           otherwise, that may have been granted to make contact via mobile telephone, (whether by calling),
           texting, land line, emailing or to any facsimile device. In addition, the Estate of Frank Trent prohibits you
           from sharing his personal information and/or any information related to this account with any
           persons/entities without its prior written consent.

                     As provided for under 15 U.S.C. §1692g(a), my client disputes the validity of the alleged debt
           and demands a verification, a full accounting, and the name and address of the original creditor. Kindly
           forward all such information to our New Jersey office. Additionally, pursuant to 15 U.S.C. §1692e(8), if
           the Weltman, Weinberg & Reis Co., LPA is reporting credit information concerning this alleged debt,
           then it is obligated to report it as disputed.

                     Your anticipated cooperation in this matter is appreciated.


                                                      JONES, WOLF & KAPASI, LLC

                                                      /s/ Joseph K. Jones
                                                      Joseph K. Jones, Esq.
                                                      jkj@legaljones.com
